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                                UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

Gruver, et al                                      CIVIL ACTION

VERSUS                                                                    18-CV-772-SDD-EWD

State of Louisiana through the
Board of Supervisors of Louisiana State University
and Mechanical College, et al



                                       CLERK’S ENTRY OF DEFAULT



           Service	having	been	executed	on	8/23/2018	on	Defendant,	Louisiana	Beta	Chapter	of	

Phi	Delta	Theta	Fraternity	and	no	answer,	claim	or	other	responsive	pleadings	having	been	

filed;		


	          IT	IS	ORDERED	the	Plaintiff’s	Motion	for	Entry	of	Default	against	Louisiana	Beta	

Chapter	of	Phi	Delta	Theta	Fraternity	be	and	is	hereby	GRANTED.	


	          Baton	Rouge,	Louisiana,	this	5th	day	of	November	2018.			


	          	       	       	       	       	       	       MICHAEL	L.	MCCONNELL	
	          	       	       	       	       	       	       CLERK	OF	COURT	
	
	
	
	          	       	       	       	       	       	       BY:_______________________	
	          	       	       	       	       	       	       Deputy	Clerk	
	
	
cc:			     Louisiana Beta Chapter of Phi Delta Theta Fraternity	
